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    1   John B. Sganga (SBN 116,211)
        john.sganga@knobbe.com
    2   Sean M. Murray (SBN 213,655)
        sean.murray@knobbe.com
    3   KNOBBE, MARTENS, OLSON & BEAR, LLP
        2040 Main Street, Fourteenth Floor
    4   Irvine, CA 92614
        Telephone: (949) 760-0404
    5   Facsimile: (949) 760-9502
    6   Loni Morrow (SBN 287,693)
        Loni.morrow@knobbe.com
    7   KNOBBE, MARTENS, OLSON & BEAR, LLP
        12790 El Camino Real
    8   San Diego, CA 92130
        Telephone: (858) 707-4000
    9   Facsimile: (858) 707-4001
   10   Attorneys for Plaintiff
        LUND MOTION PRODUCTS, INC.
   11
   12                 IN THE UNITED STATES DISTRICT COURT
   13               FOR THE CENTRAL DISTRICT OF CALIFORNIA
   14                            SOUTHERN DIVISION
   15
                                           )
   16   LUND MOTION PRODUCTS, INC., )          Case No. 8:17-CV-01914 CJC (JPRx)
        a Delaware corporation,            )
   17                                      )
                     Plaintiff and         )
   18                Counterdefendant,     )   MEMORANDUM IN SUPPORT
                                           )   OF PLAINTIFF’S MOTION
   19         v.                           )   TO DISMISS DEFENDANTS’
                                           )   INEQUITABLE CONDUCT
   20   T-MAX (HANGZHOU)                   )   COUNTERCLAIM AND
        TECHNOLOGY CO., LTD., a            )   TO STRIKE RELATED
   21   Chinese corporation, T-MAX         )   AFFIRMATIVE DEFENSES
        (QINGDAO) INDUSTRIAL CO.,          )
   22   LTD., a Chinese corporation, T-MAX )
        INDUSTRIAL (H.K.) CO. LTD, a       )
   23   Hong Kong corporation, and T-MAX )     Hearing Date: April 2, 2018
        (QINGDAO) INTERNATIONAL            )   Time: 1:30 p.m.
   24   TRADING CO., LTD., a Chinese       )   Courtroom: 9B
        corporation,                       )
   25                                      )
                     Defendants and        )
   26                Counterclaimants.     )
                                           )
   27                                      )
        AND RELATED COUNTERCLAIMS )
   28                                      )
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    1                               I. INTRODUCTION
    2          This is a patent-infringement case in which Plaintiff Lund Motion
    3   Products, Inc. has asserted three patents that relate to automatically retracting
    4   running boards for motor vehicles: U.S. Patent No. 8,157,277, No. 9,302,626
    5   and No. 9,561,751 (the “Asserted Patents”).           The two defendants who
    6   responded to Lund’s complaint – T-Max (Hangzhou) Technology Co., Ltd. and
    7   T-Max Industrial (H.K.) Co. Ltd (collectively, “T-Max”) – asserted an
    8   inequitable-conduct counterclaim based on the alleged withholding of three
    9   documents from the Unites States Patent and Trademark Office (“PTO”). Lund
   10   now moves to dismiss that counterclaim for failure to plead it with particularity.
   11          T-Max’s inequitable-conduct counterclaim centers on three documents
   12   that allegedly arose during prosecution of Lund’s foreign counterpart patents:
   13   (1) a written opinion on patentability; (2) a search report; and (3) a Chinese-
   14   language patent. T-Max has the heavy burden of proving (1) but-for materiality,
   15   i.e., that a patent claim never would have issued had these documents been
   16   submitted to the PTO; and (2) that the “single most reasonable inference” from
   17   the facts is that the documents were withheld with the specific intent to deceive
   18   the PTO.     Under Rule 9(b), T-Max must plead inequitable conduct with
   19   particularity.
   20          T-Max failed to do so.       Regarding the alleged written opinion on
   21   patentability, no written opinion appears anywhere in the online records for the
   22   international patent application, and T-Max alleged no facts indicating that the
   23   international search authority ever prepared a written opinion. Thus T-Max
   24   accuses Lund of withholding a document that never existed. With regard to the
   25   international search report, Lund’s predecessor indisputably gave the PTO each
   26   and every prior art reference cited in the report. Under Federal Circuit law,
   27   international search reports are immaterial when the prior art references cited in
   28   the report are separately submitted. Finally, in the case of the Chinese patent, T-
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    1   Max does not and cannot allege that someone associated with the U.S.
    2   prosecution of the Asserted Patents ever received a copy of the Chinese patent,
    3   let alone an English translation that would have revealed the patent’s content.
    4   Lund is not aware of such facts, and T-Max cannot possibly have any more
    5   information about the confidential and privileged communications between the
    6   applicants’ Chinese counsel and their U.S. counsel. Thus, T-Max’s allegation
    7   of inequitable conduct is based on mere speculation that something untoward
    8   may have occurred. Such speculation is not a proper basis for making the very
    9   serious charge of inequitable conduct.
   10         The few facts T-Max did plead are insufficient to satisfy Rule 9(b). In
   11   alleging materiality, T-Max did little more than assert that the allegedly
   12   withheld documents were material because they appeared in the prosecution of
   13   related foreign patent applications. But T-Max failed to identify any specific
   14   patent claim – pending at any point in the decade-long proceedings before the
   15   PTO – to which the search report and Chinese patent are material. Nor did
   16   T-Max address whether the allegedly withheld documents were cumulative of
   17   information already before the PTO. And T-Max never addressed how or why
   18   such a claim would have been deemed unpatentable had the PTO received the
   19   search report or the Chinese patent. Without such specific allegations, a court
   20   cannot plausibly infer that an allegedly withheld document contained
   21   information that was “but-for” material to a pending claim, such that the claim
   22   never would have issued had the document been before the PTO.
   23         With respect to deceptive intent, T-Max never alleged who precisely
   24   committed inequitable conduct. Nor does T-Max allege specific facts indicating
   25   that this unidentified person knew of the references’ allegedly material content
   26   and withheld those documents with the specific intent to deceive the PTO.
   27         Finally, T-Max should not be accorded leave to amend its deficient
   28   pleading, as any amendment would be futile. The alleged written opinion never
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    1   existed, so T-Max could plead no facts supporting materiality or intent. The
    2   search report is immaterial as a matter of law. And T-Max has no way to
    3   identify confidential communications from the applicants’ Chinese counsel
    4   transmitting a copy of the Chinese patent, even if some were to exist. Thus
    5   T-Max could not possibly add new facts to its pleading that would support an
    6   inference that someone in the U.S. had an English translation of the Chinese
    7   patent and acted with an intent to deceive.
    8         After Lund informed T-Max that its inequitable-conduct counterclaim and
    9   many of its affirmative defenses were insufficiently pled, T-Max filed an
   10   amended answer withdrawing or amending seventeen of its twenty-three
   11   affirmative defenses.    But T-Max declined that opportunity to amend its
   12   inequitable-conduct counterclaim, undoubtedly because it had no additional
   13   facts that could buttress its unsubstantiated charge of inequitable conduct. This
   14   confirms that any further amendment would be futile. T-Max’s inequitable-
   15   conduct counterclaim should therefore be dismissed without leave to amend,
   16   and its affirmative defenses based on inequitable conduct should be stricken.
   17                           II. FACTUAL BACKGROUND
   18         A.     The Parties
   19         Lund is one of the world’s leading automotive accessory providers,
   20   offering functional, high-performance, protective and stylish products for the
   21   industry’s most recognized brands. Dkt. 1 (complaint) at 5. The products at
   22   issue in this case are retractable running boards, also known as electric steps,
   23   which attach to the side of a vehicle and are capable of extending outward for
   24   use as a step and retracting inward at least partially under the vehicle. Id. Lund
   25   is the successor of AMP Research, the original manufacturer of the
   26   PowerStep™ and PowerStep XL™ lines of retractable vehicle steps. Id. Lund
   27   now manufactures all of the PowerStep™ products in America and has an
   28   extensive patent portfolio protecting its innovations. Id.
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    1         T-Max is a Chinese manufacturer of automotive parts and accessories.
    2   Id. at 6. A T-Max affiliate – T-Max, LLC – previously infringed an electric-step
    3   patent in the same patent family as the patents-in-suit and was enjoined by this
    4   Court. See 89908 Inc. v. T-Max, LLC, No. 8:08-cv-00323-CJC-RNB (C.D.
    5   Cal.). Dkt. 1-11. Lund filed this suit against T-Max on October 31, 2017, after
    6   discovering that T-Max had infringed Lund’s electric-step patents and copied
    7   copyrighted works of art from Lund’s electric-step installation guide. Dkt. 1.
    8         In response to Lund’s suit, T-Max asserted twenty-three affirmative
    9   defenses and seven counterclaims, including a counterclaim for inequitable
   10   conduct. Dkt. 18. After the parties met and conferred on the present motion,
   11   T-Max filed an amended answer in which it withdrew eleven affirmative
   12   defenses and amended six others.1 However, T-Max made no amendment to its
   13   allegations of inequitable conduct. Id. T-Max did amend its affirmative defense
   14   of unclean hands to specify that the defense is based on the same allegations of
   15   inequitable conduct. Dkt. 25 at 13, ¶ 123. The present motion challenges the
   16   sufficiency of T-Max’s pleading of its Seventh Counterclaim (unenforceability),
   17   Second Affirmative Defense (unenforceability), and Eighth Affirmative Defense
   18   (unclean hands).
   19         B.    The PCT Documents Allegedly Withheld: the International
   20               Search Report and the Non-Existent Written Opinion

   21         In asserting inequitable conduct, T-Max argues that the applicants for the
   22   Asserted Patents should have submitted to the PTO two documents that
   23   allegedly arose in the Patent Cooperation Treaty (PCT) application that AMP
   24   Research filed with the World Intellectual Property Organization (WIPO) on
   25   October 16, 2002. One is the “international search report,” the other is an
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              1
                T-Max withdrew original affirmative defense nos. 1, 5, 6, 8, 9, 11, 14,
        17, 18, 19 and 23. It amended original affirmative defense nos. 4, 10, 12, 15, 16
   28   and 20. Compare Dkt. 18 with Dkt. 25.

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    1   alleged “written opinion” that T-Max neither appends to the complaint, nor
    2   makes accessible via a hyperlink. Dkt. 25 at 18-19, ¶¶ 25-27.
    3         The Patent Cooperation Treaty is an international treaty that allows an
    4   applicant to seek patent protection in multiple countries by filing a single
    5   application with WIPO in Geneva, Switzerland. Ex. 1 at § 2.001. After a PCT
    6   application is filed, WIPO forwards the application to patent offices in the
    7   countries designated by the applicant. Id. at § 3.002. The applicant also selects
    8   a specific patent office, such as the PTO or the European Patent Office, as the
    9   international search authority for the PCT application. Id. The search authority
   10   performs a search for prior art references and issues an international search
   11   report listing the documents and placing them in categories based on their
   12   potential relevance to the PCT claims. Id. The search authority may also issue
   13   a written opinion on patentability. Id. at § 3.003. The search authority sends
   14   the international search report and any written opinion to WIPO for inclusion in
   15   WIPO’s official records. Id. at § 7.028. WIPO then publishes the patent
   16   application, international search report and any written opinion approximately
   17   eighteen months after the filing of the PCT application.         Id. at §§ 7.028,
   18   9.001(iii). The individual countries designated by the applicant may rely on the
   19   international search report and any associated written opinion, or they may
   20   conduct their own supplemental prior art search.         Id. at § 3.003.    Patent
   21   prosecution proceeds separately in the designated countries, and each country
   22   independently decides whether to grant the applicant a patent. Id. at § 3.004.
   23         As reflected in WIPO’s online listing of documents associated with this
   24   application, WIPO published AMP Research’s application and an international
   25   search report on May 15, 2003, under publication number WO 03/039910A1.
   26   Ex. 2 (Initial Publication with ISR); Ex. 3 (WIPO document list). The Initial
   27   Publication with ISR has three components: (1) a two-page cover sheet, (2) the
   28   patent application, and (3) the three-page international search report. Ex. 2.
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    1         A corrected version of the Initial Publication with ISR issued on February
    2   19, 2004, and is described on the WIPO documents list as a “Corrected version
    3   of pamphlet.” Ex. 4 (corrected publication); Ex. 3. Like the initial publication,
    4   the corrected publication contains a cover sheet, the (corrected) patent
    5   application, and a copy of the previously published search report. Ex. 4. T-Max
    6   has alleged that the search authority issued a written opinion on patentability.
    7   Dkt. 25 at 8-9, ¶¶ 107-109 and 18-19, ¶¶ 25-27. But no separate written opinion
    8   was included in either WIPO publication or in any other document on WIPO’s
    9   document list. Exs. 2-4; Morrow Decl. ¶ 3. Nor does the international search
   10   report contain a written opinion. Ex. 2 at 120-122. To Lund’s knowledge, no
   11   such written opinion exists.
   12         The international search report lists nine documents: seven Category A
   13   references relating to the “general state of the art,” and two Category X
   14   references “of particular relevance” to the issue of novelty.         Id. at 120
   15   (description of categories). The search reports lists specific claims to which the
   16   two “Category X” documents were deemed relevant. One of those documents is
   17   a published patent application by one of the inventors of the Asserted Patents,
   18   Horst Leitner, which subsequently issued as U.S. Pat. No. 6,641,158. Morrow
   19   Decl. ¶ 5; Ex. 5. For the Leitner reference, the search report indicates that the
   20   document is relevant to all 58 claims in the PCT application. Ex. 2 at 120. The
   21   other “Category X” document is a patent issued to an inventor named Stairs.
   22   For the Stairs patent, the search report lists a subset of claims to which the
   23   reference was deemed relevant. Id. For the seven background documents in
   24   “Category A,” the search report lists no claims. Id. at 120-121. Reproduced
   25   below is an excerpt from the first page of the search report, which shows the
   26   two “Category X” documents and three of the seven “Category A” documents.
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   14          Id. at 120. Thus, for the seven background documents listed in the search
   15    report, the report provides no information at all beyond the identity of the
   16    document.
   17          AMP Research submitted all nine of the documents listed in the search
   18    report to the PTO. This is clear from the face pages of the Asserted Patents,
   19    which list all nine documents. Exhibits 6-8 are copies of the Asserted Patents
   20    with the nine references highlighted in yellow.2 Thus, the PTO had all the prior
   21    art the international search authority deemed pertinent. T-Max did not plead
   22    otherwise.
   23          Pursuant to PCT procedure, WIPO forwarded AMP Research’s PCT
   24    application to Canada and China for separate prosecution in each country. Ex. 1
   25    at § 3.002. Thus, the national patent offices in these two countries each received
   26          2
                U.S. Patent No. 9,561,751 (Ex. 8) and No. 9,302,626 (Ex. 7) list the
   27    issued Leitner patent, U.S. Patent No. 6,641,158, which was published as
         2002/0113400 before the patent issued. Ex. 5, Morrow Decl. ¶ 5. U.S. Patent
   28    No. 8,157,277 (Ex. 6) lists the Leitner publication itself.
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     1   the WIPO publication including the international search report. See, e.g., Ex. 9
     2   (reflecting national entry into Canada and China of the WIPO publication
     3   attached as Ex. 2). Despite receiving the international search report that T-Max
     4   characterizes as “but-for material,” Canada and China both granted a patent to
     5   AMP Research. Ex. 10 (Chinese patent); Ex. 11 (Canadian patent).
     6         C.    The Chinese Patent
     7         The third reference on which T-Max relied to allege inequitable conduct
     8   is Chinese Patent No. 2174368Y. Ex. 12. T-Max alleged that this Chinese-
     9   language patent was “identified” by a Chinese patent office examiner during the
   10    national phase of the PCT process. Dkt. 25 at 9-10, ¶ 111 and 19-20, ¶ 29. But
   11    T-Max did not allege that the Chinese patent was the basis of a rejection. Dkt.
   12    25. T-Max did not allege that the Chinese examiner described the patent as
   13    material to patentability. Id. And T-Max did not allege that Chinese counsel
   14    sent a copy of the patent to U.S. counsel, or that any particular person in the
   15    U.S. associated with AMP Research or the prosecution of the Asserted Patents
   16    ever possessed a copy of the document. Id.
   17          As T-Max acknowledges, the Chinese patent office had the prior art
   18    Chinese patent during the national-phase prosecution in China.            After
   19    presumably reviewing that patent, the Chinese patent office nevertheless granted
   20    AMP Research its own patent. Ex. 10. Exhibit 10 is a copy of AMP Research’s
   21    issued Chinese patent with the number of the prior art Chinese patent – No.
   22    2174368Y – highlighted in yellow in the cited references section of the cover
   23    page. Morrow Decl. ¶ 10. T-Max does not plead that the Chinese patent office
   24    relied on or ever articulated the specific relevance of the Chinese prior art
   25    patent. And ultimately, the Chinese patent office concluded that Amp Research
   26    was entitled to its own Chinese patent. Ex. 10.
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     1                             III. GOVERNING LAW
     2         The Supreme Court tightened pleading standards in Bell Atl. Corp. v.
     3   Twombly and Ashcroft v. Iqbal, holding that pleadings must include enough
     4   facts to state a claim for relief that is “plausible on its face.” See Twombly, 550
     5   U.S. 544, 547 (2007); Iqbal, 556 U.S. 662, 678 (2009). Properly pled claims
     6   must contain enough facts to cross the line from merely conceivable to actually
     7   plausible. See Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678-79.
     8         One seeking to prove inequitable conduct based on the non-submission of
     9   a reference must prove that the reference was material and that it was withheld
   10    with the specific intent to deceive the PTO. Exergen Corp. v. Wal-Mart Stores,
   11    Inc., 575 F.3d 1312, 1327 (Fed. Cir. 2009). Rule 9(b) of the Federal Rules of
   12    Civil Procedure requires that a pleading of inequitable conduct allege with
   13    particularity the circumstances constituting inequitable conduct. Id. at 1326.
   14    Exergen set forth specific requirements for pleading inequitable conduct with
   15    particularity. In so doing, the court noted that a pleading of inequitable conduct
   16    “requires identification of the specific who, what, when, where, and how of the
   17    material misrepresentation or omission committed before the PTO.” Id. at 1327.
   18          In Therasense, the Federal Circuit raised the requirements for proving
   19    inequitable conduct. See Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d
   20    1276, 1290 (Fed. Cir. 2011) (en banc). (“This court now tightens the standard
   21    for finding both intent and materiality in order to redirect a doctrine that has
   22    been overused to the detriment of the public.”). The court sought to limit the
   23    inequitable conduct defense to egregious misconduct and to exclude “the mere
   24    nondisclosure of prior art references to the PTO.” Id. at 1292-96; see also, e.g.,
   25    Lakim Indus., Inc. v. Linzer Prod. Corp., No. 2:12-cv-04976, 2012 WL
   26    12547988, at *6 (C.D. Cal. Nov. 7, 2012) (“Therasense clarified and
   27    dramatically tightened standard for proving—and by extension, pleading—
   28    claims of inequitable conduct. In doing so, Therasense stressed that inequitable
                                                 -9-
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     1   conduct is purely a judicial gloss on statutory patent law, developed specifically
     2   to deal with patent cases involving particularly egregious misconduct….”).
     3           After Therasense, inequitable conduct now requires proof that the
     4   allegedly withheld reference was but-for material, i.e., that the PTO would not
     5   have issued the patent had the reference been submitted, and that “the single
     6   most reasonable inference” from the facts is that the reference was withheld
     7   with the specific intent to deceive the PTO. See Therasense, 649 F.3d at 1290.
     8   However, Therasense did not purport to alter the high level of particularity
     9   required by Exergen for pleading inequitable conduct.
   10            Rule 12(b)(6) of the Federal Rules of Civil Procedure authorizes a court
   11    to dismiss a counterclaim that lacks “sufficient facts alleged under a cognizable
   12    legal theory.” Lakim, 2012 WL 12547988, at *1 (citing Balistreri v. Pacifica
   13    Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990)). Counterclaims of inequitable
   14    conduct that are not pled with sufficient particularity should be dismissed under
   15    Rule 12(b)(6). See Lakim, 2012 WL 12547988, at *2; Exergen, 575 F.3d at
   16    1326.    And when a counterclaim of inequitable conduct is dismissed, any
   17    corresponding affirmative defense of inequitable conduct should be stricken.
   18    See International Business Machines Corp. v. Priceline Group, Inc., No. 15-
   19    137, 2017 WL 1349175 at *4 and *21 (D. Del. April 10, 2017) (“Defendants’
   20    counterclaim and affirmative defense for inequitable conduct rise and fall
   21    together.”).
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     1     IV. T-MAX FAILED TO PLEAD ITS INEQUITABLE-CONDUCT
                    COUNTERCLAIM WITH PARTICULARITY
     2
     3         T-Max’s inequitable-conduct allegations with respect to all three non-
     4   submitted documents – the international search report, the alleged written
     5   opinion and the Chinese patent – fail to satisfy governing pleading standards.
     6         A.     T-Max Alleged No Facts Plausibly Suggesting That A Written
     7                Opinion Exists

     8         WIPO’s website lists the documents associated with International
     9   Application No. PCT/US02/33586.         Ex. 3 (printout of relevant page from
   10    https://patentscope.wipo.int). No written opinion is listed among the documents
   11    associated with International Application No. PCT/US02/33586. Morrow Decl.
   12    ¶ 3. By contrast, the international search report (ISR) is listed as part of the
   13    “Initial Publication with ISR.” Ex. 3; Ex. 2 at 120-122.
   14          T-Max’s pleading did not attach any written opinion or cite to a WIPO
   15    document or webpage that refers to a written opinion. Nor did T-Max quote
   16    from any written opinion, or plead any fact that suggests a written opinion was
   17    prepared in connection with AMP Research’s PCT application. Rather, T-Max
   18    merely alleged that, “[o]n information and belief, International Application No.
   19    PCT/US02/33586 resulted in an international search report and written opinion
   20    from the International Search Authority….” Dkt. 25 at 18, ¶ 25. But as the
   21    official WIPO website demonstrates, there is no written opinion distinct from
   22    the search report itself. T-Max’s allegation “on information and belief” that the
   23    international search authority issued a separate written opinion is not plausible
   24    in view of the publicly available WIPO records.
   25          “Pleading on ‘information and belief’ is permitted under Rule 9(b) when
   26    essential information lies uniquely within another party’s control, but only if the
   27    pleading sets forth the specific facts upon which the belief is reasonably based.”
   28    Exergen, 575 F.3d at 1330. Here the WIPO records of International Application
                                                -11-
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     1   No. PCT/US02/33586 are not uniquely within Lund’s control, but are publicly
     2   available online, and T-Max has not alleged specific facts that render its belief
     3   reasonable. Thus, T-Max’s allegations relating to a separate written opinion fail
     4   to satisfy Rule 9(b) and should be dismissed.
     5         B.      T-Max’s Allegations Regarding The International Search
     6                 Report Are Deficient
     7                 1.    T-Max’s Allegations Fail To Satisfy Multiple
     8                       Requirements Of Exergen

     9         T-Max’s allegations regarding the search report are equally deficient.
   10    They fail to satisfy any part of Exergen’s requirement that a pleading of
   11    inequitable conduct identify “the specific who, what, when, where and how of
   12    the material misrepresentation or omission.” Id. at 1327.
   13          First, a pleading of inequitable conduct must “name the specific
   14    individual associated with the filing or prosecution of the application issuing as
   15    [the asserted patent], who both knew of the material information and
   16    deliberately withheld or misrepresented it.” Id. at 1329. This is the “who” of
   17    the alleged inequitable conduct. Id. But T-Max never identified any specific
   18    individual who allegedly committed inequitable conduct. Rather, T-Max simply
   19    listed every potential category of person who could possibly have committed
   20    inequitable conduct with respect to a patent:
   21               27. On information and belief, the international search report
   22               and the written opinion from the International Search
   23               Authority related to International Application No.
   24               PCT/US02/33586 were knowingly and intentionally withheld
                    from the USPTO by the applicant, AMP Research, the
   25
                    named inventors, and/or the prosecuting attorneys in a
   26               deliberate effort to conceal material information which would
   27               have led to the USPTO rejecting one or more claims of the
   28               Patents-in-Suit.

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     1   Dkt. 25 at 19, ¶ 27 (emphasis added). T-Max therefore failed to identify the
     2   “who” of the alleged material omission. See Exergen, 575 F.3d at 1329.
     3         Second, T-Max was required to identify the claims in the file histories of
     4   the Asserted Patents, and the limitations in those claims, to which the search
     5   report is relevant, and where in the search report material information may be
     6   found. See id. T-Max never explained how anything in the search report would
     7   have caused the PTO to reject a pending claim. This is the “what” and “where”
     8   required by Exergen. Id. Yet T-Max’s counterclaim never mentions a single
     9   patent claim that was pending in the U.S., let alone a specific limitation of such
   10    a claim. Nor did T-Max identify where in the search report information material
   11    to a claim in the U.S. prosecution may be found. T-Max stated generally that
   12    the “international search report identifies which specific claims of the PCT
   13    application are rendered unpatentable due to lack of novelty and/or inventive
   14    step based on specific prior art references identified from the search.” Dkt. 25
   15    at 18-19, ¶ 26. But while the search report is one examiner’s opinion about the
   16    relevance of prior art to claims in the international PCT application, Exergen
   17    required T-Max to identify where in the search report there is information
   18    relevant to a claim pending in the prosecution of the Asserted Patents. Id.
   19    T-Max made no such identification.
   20          Third, T-Max never alleged facts indicating that the search report
   21    contained information the PTO did not already have. T-Max was obligated to
   22    identify the specific claim limitations, or combination of limitations, that were
   23    allegedly absent from the information before the PTO during prosecution of the
   24    Asserted Patents.   See Exergen, 575 F.3d at 1330.        “Such allegations are
   25    necessary to explain both ‘why’ the withheld information is material and not
   26    cumulative, and ‘how’ an examiner would have used this information in
   27    assessing the patentability of the claims.” Id. at 1329-30. T-Max’s pleading,
   28    however, contains no discussion whatsoever of the references that were before
                                               -13-
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     1   the PTO during the prosecution of the Asserted Patents, and certainly no
     2   discussion of specific limitations or combinations of limitations that were
     3   missing from those references. See Dkt. 25 at 17-21, ¶¶ 20-32. T-Max provided
     4   no specifics at all to explain why the search report would have caused the U.S.
     5   patent examiner to refuse to issue a patent to AMP Research.
     6         The pleading deficiencies represented by T-Max’s failure to plead the
     7   “specific who, what, when, where and how” of the alleged inequitable
     8   misconduct, even without consideration of further deficiencies, “are fatal under
     9   Rule 9(b).” See Exergen, 575 F.3d at 1330.
   10          However, T-Max’s allegations of deceptive intent are deficient in another
   11    critical respect. Exergen requires that a pleading of inequitable conduct contain
   12    factual allegations showing that someone with knowledge of the search report
   13    “knew of the specific information that is alleged to be material to the [Asserted
   14    Patents] and then decided to deliberately withhold it from the relevant
   15    examiner.” Id. at 1331. But T-Max’s formulaic pleading is, in this respect as
   16    well, a factual desert. T-Max merely stated, once again “[o]n information and
   17    belief,” that the search report was “knowingly and intentionally withheld from
   18    the USPTO by the applicant, AMP Research, the named inventors, and/or the
   19    prosecuting attorneys in a deliberate effort to conceal material information
   20    which would have led to the USPTO rejecting one or more claims of the
   21    Patents-in-Suit.”   Dkt. 25 at 19, ¶ 27.      Thus, T-Max identified no fact
   22    inconsistent with the applicants’ attorneys deciding in good faith not to submit
   23    the search report because they deemed it cumulative or otherwise immaterial.
   24          In sum, T-Max’s allegations of inequitable conduct relating to the
   25    international search report are completely lacking in facts which, if true, would
   26    indicate that someone committed inequitable conduct in connection with the
   27    prosecution of the Asserted Patents.     Accordingly, these allegations fail to
   28    comply with Rule 9(b) and should be dismissed.
                                               -14-
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     1                2.     Amendment Would Be Futile Because The International
     2                       Search Report Was Immaterial As A Matter Of Law

     3         The Court should not permit T-Max to amend the allegations in its
     4   inequitable-conduct counterclaim pertaining to the search report because any
     5   amendment would be futile. The Federal Circuit has ruled that international
     6   search reports – and the details of foreign prosecution in general – are
     7   immaterial if the prior art references cited in the international search report were
     8   separately submitted to the PTO:
     9             Although international search reports may contain information
   10              material to patentability if they contain closer prior art than that
                   which was before the United States examiner, it is the reference
   11
                   itself, not the information generated in prosecuting foreign
   12
                   counterparts, that is material to prosecution in the United States.
   13              The details of foreign prosecution are not an additional category
   14              of material information.
   15    ATD Corp. v. Lydall, Inc., 159 F.3d 534, 547 (Fed. Cir. 1998). In the present
   16    case, all nine references listed in the international search report were submitted
   17    to the PTO and are listed on the face of each Asserted Patent. Compare Exs. 6-
   18    8 (copies of the Asserted Patents with the nine references highlighted) with Ex.
   19    2 at 120-122 (international search report); Morrow Decl. ¶¶ 6-8. The search
   20    report on which T-Max relies is therefore immaterial as a matter of law.
   21          Because no amendment could change the inescapable fact that the search
   22    report is immaterial as a matter of law, T-Max should not be granted leave to
   23    amend its inequitable-conduct allegations relating to that report. See Schreiber
   24    Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986)
   25    (denying leave where “the allegation of other facts consistent with the
   26    challenged pleading could not possibly cure the deficiency”); Lakim, 2012 WL
   27    12547988, at *5 (denying leave where “Federal Circuit law clearly establishes
   28    that Linzer’s inequitable conduct contentions fail as a matter of law”).
                                                 -15-
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     1         C.      T-Max’s Allegations Regarding The Chinese Patent Are
                       Deficient
     2
     3         T-Max pleads that a Chinese-language prior art patent identified by the
     4   Chinese patent office may have been material, and that it may have been
     5   intentionally withheld by someone associated with the Asserted Patents. But
     6   T-Max’s allegations regarding the Chinese patent are pure speculation. They
     7   should be dismissed.
     8                 1.    T-Max’s Allegations Fail To Satisfy Exergen’s Pleading
     9                       Requirements
   10          T-Max’s allegations regarding the Chinese patent omit several categories
   11    of allegation required by Exergen. First, T-Max’s pleading does not identify the
   12    specific person who allegedly defrauded the PTO. See Exergen, 575 F.3d at
   13    1329. T-Max merely stated that some unidentified person associated with AMP
   14    Research committed the alleged misconduct:
   15
                    On information and belief, Chinese Patent No. 2174368Y
   16
                    was knowingly and intentionally withheld from the USPTO
   17               by the applicant, AMP Research, the named inventors,
   18               and/or the prosecuting attorneys in a deliberate effort to
   19               conceal material information which would have led to the
                    USPTO rejecting one or more claims of the Patents-in-Suit.
   20
   21    Dkt. 25 at 20, ¶ 31 (emphasis added).
   22          Further, T-Max never identified the claims in the file histories of the
   23    Asserted Patents, and the specific limitations in those claims, to which the
   24    Chinese patent is relevant. See Exergen, 575 F.3d at 1329. Indeed, T-Max
   25    never mentioned a specific claim from the U.S. prosecution.
   26          T-Max also failed to identify any portion of the Chinese patent that
   27    discloses material information. See id. Rather, T-Max attempted to establish
   28    that the Chinese patent was material “to patentability of the Patents-in-Suit
                                                 -16-
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     1   because, among other reasons, it was found by the Chinese Examiner to be
     2   material to patentability of Chinese Application No. CN02825000, which claims
     3   priority to the same two U.S. provisional applications as the Patents-in-Suit.”
     4   Dkt. 25 at 20, ¶ 30. But T-Max never described the claims that were pending
     5   when the Chinese patent office identified the Chinese patent, nor alleged facts
     6   indicating that the claims pending in China contained the same limitations as
     7   claims pending in the U.S. prosecution. Only allegations showing the similarity
     8   of the claims pending in China and the U.S. would permit the inference that a
     9   reference relevant in China was also relevant in the U.S. Further, T-Max never
   10    alleged that the Chinese patent was but-for material in China, as opposed to
   11    mere background art. This is hardly surprising. The Chinese patent office
   12    granted the applicants a Chinese patent despite having identified and considered
   13    the prior-art Chinese reference. Ex. 10 (issued Chinese patent with Chinese
   14    reference highlighted); Morrow Decl. ¶ 10.
   15          Further, T-Max failed to discuss the references that were before the PTO
   16    or identify specific claim limitations or combination of limitations that were
   17    supposedly absent from those references, but present in the Chinese patent. See
   18    Exergen, 575 F.3d at 1330. Thus no factual allegation in T-Max’s pleading
   19    excludes the possibility that the material disclosed in the prior-art Chinese
   20    patent was cumulative of other references that were much closer to the claims
   21    pending in the United States.
   22          Finally, T-Max articulated no specific facts which suggest that anyone
   23    acted with the intent to deceive the PTO. See id. at 1331. After Therasense,
   24    one alleging inequitable conduct must prove that “the single most reasonable
   25    inference” from the facts is that someone acted with the specific intent to
   26    deceive the PTO. Therasense, 649 F.3d at 1290. “Proving that the applicant
   27    knew of a reference, should have known of its materiality, and decided not to
   28    submit it to the PTO does not prove specific intent to deceive.” Id. Yet T-
                                              -17-
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     1   Max’s counterclaim does not even allege this much. T-Max did not identify
     2   anyone in the U.S. who had a translation of the Chinese patent or even a copy of
     3   the original Chinese-language document. T-Max did not allege that the Chinese
     4   patent office relied on the Chinese patent to reject pending claims, or that
     5   anyone in the U.S. was familiar with such a rejection. And T-Max did not
     6   allege facts supporting the notion that a specific person reviewed such a
     7   rejection, appreciated that the Chinese patent was material to claims pending in
     8   the U.S. because it disclosed information not before the PTO, and nevertheless
     9   deliberately withheld the Chinese patent with the intent to deceive the PTO.
   10    T-Max has therefore failed to allege facts that would allow the Court to
   11    conclude that the “single most reasonable inference” is that someone acted with
   12    the specific intent to deceive the PTO. See id. T-Max’s allegations fall far short
   13    of the level of specificity mandated by Rule 9(b) and Exergen.
   14                 2.    Amendment Would Be Futile Because No Facts At All
   15                       Support T-Max’s Improbable Theory

   16          The Court should not grant T-Max leave to rewrite its fatally flawed
   17    allegations concerning the Chinese patent. Any amendment would be futile
   18    because T-Max cannot possibly allege facts suggesting that AMP Research’s
   19    Chinese counsel ever sent the Chinese patent to AMP Research’s U.S. counsel.
   20    T-Max can have no information concerning the confidential and privileged
   21    communications between AMP Research and its Chinese patent counsel.
   22    Significantly, T-Max alleged no facts suggesting that the Chinese patent was
   23    ever in the hands of anyone in the U.S.           T-Max merely alleged “[o]n
   24    information and belief” that the “identification” of the Chinese patent by the
   25    Chinese examiner “was made known to” AMP Research and the inventors. Dkt.
   26    25 at 19-20, ¶ 29. T-Max’s carefully worded allegation suggests only that
   27    someone in the U.S. may have had a list of patents “identified” by the Chinese
   28    examiner. Even if T-Max could plead facts supporting its speculation that
                                               -18-
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     1   someone in the U.S. possessed such a list, having a list is a far cry from having
     2   an English translation of the Chinese patent itself, or knowing of its alleged
     3   materiality.
     4         T-Max’s inequitable-conduct counterclaim does not even allege facts
     5   suggesting that the Chinese patent was particularly important in the Chinese
     6   prosecution and, as a consequence, may have been treated differently than the
     7   typical foreign-language reference cited in foreign prosecution. T-Max never
     8   alleged that the Chinese patent was described by the Chinese examiner as
     9   showing AMP Research’s invention, never alleged that it was the basis for
   10    rejecting claims, and never alleged that its limitations were substantively
   11    discussed in any way during the Chinese prosecution.          Therefore nothing
   12    indicates that the Chinese patent was important enough to be treated differently
   13    from other foreign-language references and sent to U.S. counsel.         On the
   14    contrary, the Chinese patent office ultimately allowed AMP Research a patent
   15    over the Chinese reference. T-Max’s improbable theory – that the Chinese
   16    patent somehow was sent to the U.S., translated, read, and then withheld –
   17    should never have been alleged given that no facts whatsoever suggest this
   18    unlikely sequence of events occurred. It is pure speculation, and nothing more.
   19          T-Max should not be allowed to amend its fraud allegations just to
   20    embellish with additional words a theory that is wholly unsupported by fact.
   21    That would be akin to permitting one who built a house on shifting sands,
   22    thereby violating safety standards, to demolish the house and replace it with an
   23    office tower. If T-Max has any facts specific to this case suggesting that its
   24    speculative theory actually occurred, facts which are glaringly absent from both
   25    its original pleading and its amended pleading, it should identify those facts in
   26    its opposition brief. But T-Max will be unable to do so.
   27          The Federal Circuit observed in Therasense that the “habit of charging
   28    inequitable conduct in almost every patent case has become an absolute plague,”
                                               -19-
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     1   and that even “reputable lawyers seem to feel compelled to make the charge
     2   against other reputable lawyers on the slenderest grounds.” Therasense, 649
     3   F.3d at 1289. The court could have been describing this case.
     4         In sum, no amendment could add specific facts supporting T-Max’s
     5   improbable theory that AMP Research’s Chinese counsel sent anyone in the
     6   United States a Chinese-language patent that was merely “identified” in a
     7   Chinese prosecution. T-Max’s inequitable-conduct allegations relating to the
     8   Chinese patent should be dismissed without leave to amend.
     9   V. T-MAX’S AFFIRMATIVE DEFENSES BASED ON INEQUITABLE
   10                  CONDUCT SHOULD BE STRICKEN

   11          Although T-Max has withdrawn many of the affirmative defenses in its
   12    original answer, its amended answer still asserts affirmative defenses of patent
   13    unenforceability (No. 2) and unclean hands (No. 8). Dkt. 25 at 7-10, ¶¶ 103-114
   14    and 13, ¶ 123.    The unenforceability defense recites the same inequitable-
   15    conduct allegations recited in T-Max’s unenforceability counterclaim. Compare
   16    id. at 8-11, ¶¶ 103-114 with id. at 18-22, ¶¶ 20-32. Likewise, in pleading
   17    unclean hands, T-Max stated that it “incorporates by reference its affirmative
   18    defense related to inequitable conduct.” Id. at 14, ¶ 123. Accordingly, these
   19    two affirmative defenses are based on the same allegations of inequitable
   20    conduct as T-Max’s unenforceability counterclaim and should be stricken for
   21    the same reasons the counterclaim should be dismissed.          See International
   22    Business Machines, 2017 WL 1349175, at *4 (“Defendants’ counterclaim and
   23    affirmative defense for inequitable conduct rise and fall together.”).       The
   24    defense of unclean hands should also be stricken as redundant. See Rosen v.
   25    Masterpiece Marketing Group, LLC, No. 15-cv-06629, 2016 WL 7444698, at
   26    *5-6 (C.D. Cal. May 3, 2016) (striking an unclean-hands defense that was, at
   27    best, redundant of another defense).
   28
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     1                                 VI. CONCLUSION
     2              For the foregoing reasons, the Court should dismiss T-Max’s seventh
     3   counterclaim for inequitable conduct, without leave to amend, and strike
     4   T-Max’s second and eighth affirmative defenses.
     5
     6                                   Respectfully submitted,
     7                                   KNOBBE, MARTENS, OLSON & BEAR, LLP
     8
     9   Dated: February 28, 2018        By: /s/ Sean M. Murray
                                            John B. Sganga
   10                                       Sean M. Murray
                                            Loni Morrow
   11
                                          Attorneys for Plaintiff
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